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 Philip M. Guffy                                                Eric A. Schaffer
 HUNTON ANDREWS KURTH LLP                                       STONECIPHER LAW FIRM
 600 Travis Street, Suite 4200                                  125 First Avenue
 Houston, Texas 77002                                           Pittsburgh, PA 15222
 Tel:    713-220-4200                                           Tel: 412-391-8510
 Email: pguffy@huntonak.com                                     Email: eschaffer@stonecipherlaw.com
 -and-
                                                                Counsel to UMB Bank, National
 Paul N. Silverstein                                            Association, as Indenture Trustee
 Brian Clarke
 HUNTON ANDREWS KURTH LLP
 200 Park Avenue
 New York, NY 10166
 Tel: 212-309-1000
 Email: psilverstein@huntonak.com
        brianclarke@huntonak.com

 Special Counsel to UMB Bank, National
 Association, as Indenture Trustee, and
 Counsel to the Majority Noteholder Group


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                              §
 In re:                                                       § Chapter 7
                                                              §
 GOODMAN NETWORKS, INC.,                                      § Case No. 22-31641 (MVL)
                                                              §
                  Debtor.                                     §
                                                              §

     RESPONSE TO TRUSTEE’S EXPEDITED MOTION FOR ORDER APPROVING
       MEDIATION AND AUTHORIZING PAYMENT OF MEDIATION COSTS

          UMB Bank, National Association, as indenture trustee (the “Indenture Trustee”) and

 Majority Noteholder Group1 (together with the Indenture Trustee, the “Bondholders”), for their


 1
     The Majority Noteholder Group consists of investment advisers or managers of funds that hold (with such
     investment advisers and managers acting on behalf of such holders), or are beneficial holders of, a majority of the
     8% Senior Secured Notes due 2022 issued by Goodman Networks, Inc., and include JLP Credit Opportunity
     Master Fund Ltd., JLP Credit Opportunity IDF Series Interests of the SALI Multi-Series Fund, L.P., JLP
     Institutional Credit Master Fund LP, Alimco Re Ltd., Marli B. Miller Trust A4, Miller Family Education and


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 Response to the Trustee’s Expedited Motion for Order Approving Mediation and Authorizing

 Payment of Mediation Costs [Docket No. 478] (the “Motion”), respectfully represent:

         1.       The Bondholders have no objection to the Motion to the extent it seeks authority to

 pay mediation fees, but write to respond to the Trustee’s statement that the parties “have resolved

 to mediate their various disputes.” As the Bondholders (and the Trustee) have informed the Court

 and parties in interest on numerous occasions, the Trustee’s Second Amended Motion Under

 Bankruptcy Rule 9019 for Approval of Settlement and Compromise with Prosperity Bank and UMB

 Bank, National Association (the “Prosperity 9019”) [Docket No. 300] is not the subject of the

 forthcoming mediation. Instead, the mediation was proposed as a path to resolve the various issued

 caused by (i) FedEx Supply Chain Logistics and Electronics, Inc. (“FedEx”) commencing

 litigation in the United States District Court for the Northern District of Texas against all

 defendants currently being targeted by the Trustee and (ii) the Trustee’s responsive declaratory

 judgment action against FedEx in this Court. Those issues raised in these adversary proceedings

 implicate property over which the Bondholders have liens and, therefore, the Bondholders will be

 participating in the mediation.

         2.       Indeed, the prospects for a successful mediation will be reduced if a ruling on the

 Prosperity 9019 remains pending on January 23, 2024, the date of the scheduled mediation. The

 Prosperity 9019 would become subject to the mediation by default yet, at the same time, the

 mediator would lack the ability to engage on a meaningful basis. The mediator could not, within

 the existing time frame, digest fully the voluminous pre-trial briefing and documentary evidence

 (developed over a six month period that included documentary discovery and depositions) or the




     Medical Trust, Susan F Miller Spousal IRA, Susan F. Miller Spousal Trust A4, DuPont Pension Trust, and Hilltop
     Securities, Inc.
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 record at trial prior to the mediation. Any summary of such briefing, evidence, and trial record

 included in a party’s pre-mediation statement to Judge Felsenthal would necessarily be incomplete

 and require him to refer to the underlying source documents. And, not having attended the trial,

 the mediator would be at a distinct disadvantage in determining witnesses’ credibility.

         3.      A ruling on the Prosperity 9019 will remove a major obstacle towards putting this

 chapter 7 case on a more consensual path. Accordingly, the Bondholders respectfully request that

 the Court issue its ruling on the Prosperity 9019 as soon as practicable.



 Dated: January 13, 2024
 Respectfully Submitted,

 /s/ Philip M. Guffy                                   Eric A. Schaffer
 Philip M. Guffy (TX Bar No. 24113705)                 STONECIPHER LAW FIRM
 HUNTON ANDREWS KURTH LLP                              125 First Avenue
 600 Travis Street, Suite 4200                         Pittsburgh, PA 15222
 Houston, Texas 77002                                  Tel: 412-391-8510
 Tel:      713-220-4200                                Email: eschaffer@stonecipherlaw.com
 Fax:      713-220-4285
 Email: pguffy@huntonak.com                            Counsel to UMB Bank, National
                                                       Association, as Indenture Trustee
 -and-
 Paul N. Silverstein
 Brian Clarke
 HUNTON ANDREWS KURTH LLP
 200 Park Avenue
 New York, NY 10166
 Tel: (212) 309-1000
 Email: psilverstein@huntonak.com
        brianclarke@huntonak.com

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                                    CERTIFICATE OF SERVICE

         I certify that on January 13, 2024, I caused a copy of the foregoing document to be served
 by the Electronic Case Filing System for the United States Bankruptcy Court for the Northern
 District of Texas and.

                                              /s/ Philip M. Guffy
                                              Philip M. Guffy




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